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U.S. GOUFTS

 

 

 

 

 

 

 

 

Ti
Immy Kinagi AAR VS , aya
(full nd o/prisoner number) Filed i mo om
L410 Baraster Li Bed TEPHEN W. KENYON
Ada Covstye Trj/ CLERK, DISTRICT OF IDAHO
Buse 1D $3704 USA
(complete mailing address)
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
Timmy Kia nef ;
(full narbe) Case No.
Plaintiff, (to be assigned by Court)
Vv.
PRISONER COMPLAINT
Ale. (outy Fresectics Office, Me lamp Suh:
Ada Guy lel endytes Ade Cnily Jil: Ala County!
Shealt 8 Ogee Jury Trial Requested: C) Yes oe No

 

Defendant(s).

(if you need additional space, use a blank page
for a continuation page)

 

 

A. JURISDICTION

The United States District Court for the District of Idaho has jurisdiction over my claims under:
{check alf that apply):
42 U.S.C. § 1983 (applies to state, county, or city defendants)
Bivens v, Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388
(1971) and 28 U.S.C. § 1331 (applies to federal government defendants only)
ww Other federal statute (specify) 26ULC sc.t?43 _; or diversity of citizenship.
|V__ Lalso ask the federal court to exercise supplemental jurisdiction over state

law claims,
B. PLAINTIFF
My name is Timmy Kin hee . lam a citizen of the State of /dah0 ,

 

presently residing at A da Cou ty ey /

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C. DEFENDANT(S) AND CAUSE(S) OF ACTION

(Copy and use a separate page for each defendant and each different tppe of claim; for example, if you have twa different
claims against one defendant, you will use two pages. Attach a continuation page ifneeded, but try to be brief)

1. Lam suing WV Vere; , who was acting as Realy

(defendant) (Gob title, if'a person; function, if an entity)

for the Ade Gounlf Je] Yar Ade lanty Shem: Office

(state, county, city, federal government, or private entily performing a public function)

2. (Factual Basis of Claim) | am complaining that on Lee. 6}, 202.0 , Defendant did
: (dates)
the following (state how Defendant participated in the violation and include the reason Defendant so acted if known):
because at hevesSpuyct wliled by prseadus office sdertin Riable bute coustendy been vis tatedeonn Pee. [tr
20 Lousy eek Searched ay cell Ponk Aye al disposed af’ them Auether search later tietcly pesubted
2b like 5 of yy books bejag token ans by Verdi. Mise, strip searched & had nwthing oh my Reece 2
pustey Hus cuts search? Spratius nenked @s sipornisha otfever, Z badly Kear thes & 3 Cll Seah,

    
  

  

 

 

 

 

 

 

3. (Legal Basis of Clain) L allege that the acts described above violated the following provisions of the

Constitution, federal statutes, or state laws:

Ath h liendwent dv a pretecled cgaiss t varcessrable stachos: FS MA itadte he wohvted from g uel é Hes teal funds Lmesit °
mn he Forcrwrental ciaht Lonvteeyd ie E Hore humitithin at the hands af fhe stake 4 tider th Ayreyd to due

              
 

4. i allege that { suffered the following injury or damages as a result:
Pring Sileody Gtvire mested énguish, Sengary Letiat’y, (ferkive) logs of prscibeges (phone is, books) L255
Sroeel WY Aiaulithlas & harasSirent Poa pidhple body d ce Seas hes

 

 

¥ .
5. Iseek the following relief} /Z,00 poey damages deckabary pelek Tir cell dboody seoohes Put haawss dlisposthg of |
peconel pepo fede ikns_alzo, saps chWe rekel, for saine.

6. Iam suing Defendant in his/her [personal capacity (money damages from Defendant personally), and/or
[official capacity (seeking an order for Defendant! to act or stop acting in a certain way; or money damages from an
entity because of Defendant's acts, as allowed by law); or[_| Defendant is an entity (government or private business).

7. For this claim, I exhausted the grievance system within the jail or prison in which I am incarcerated.

© Yes © No. If “Yes,” briefly explain the steps taken to exhaust; if “No,” briefly explain why full
jail or prison grievance remedies were not exhausted.

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D. PREVIOUS OR PENDING LAWSUITS

[have pursued or am now pursuing the following other lawsuits: (include (1) all lawsuits in state or federal
court related to the subject matter of this action, and (2) any federal court civil rights lawsuits, related or unrelated, and
note whether you have received a strike under 28 U.S.C. § 1915 (g) for filing a complaint that is frivolous, malicious, or fails
to state a claim upon which relief can be granted.)

Court Case No. Case Name Status of Case Strike?

 

E. REQUEST FOR APPOINTMENT OF ATTORNEY

Ido os do not © __ request that an attorney be appointed to represent me in this matter. I believe that
Lam in need of an attorney for these particular reasons which make it difficult for me to pursue this

matter without an attorney: / po, ,
/ eve setts [pnitetions. Ceased by sternal 4 external problems

Sy AS EAS, anil cleprossivn Lack of Bais de iy~Subf Gent Pesos ees Pe peppery Cec.
ay Cl cums. Alse, pat legall’ compentent to Undesead the (equiped procb™ses, ’

 

F. DECLARATION UNDER PENALTY OF PERJURY
I declare under penalty of perjury:

that I am the plaintiff in this action, that I have read the complaint, and that the information contained in
the complaint is true and correct. 28 U.S.C. § 1746; 18 U.S.C. § 1621; and

that I deposited this complaint postage prepaid in a United States postal depository unit on

(date); OR that I gave the complaint to prison officials for mailing and filing with the
Clerk of Court under the indigent inmate policy on hus ib" 202! (date); OR (specify other method)

Executed at Ada (out Jail on 3 I b/: z |

(Location) (Pate)

Piaintiff's Original Signature

Note: Fill in the page numbers. Keep one copy of the complaint for yourself (or you may send a copy to the Clerk
of Court with your original complaint so that the Clerk can stamp the date and ease number on the copy and return it to
you), but do not send extra coptes of the complaint to the Court for Defendants or otherwise. Do not aitach original exhibits
to your complaint, such as your only grievance copy. Do not attach more than 25 pages of exhibits. Ifyou have more
exhibits, wait until the Court determines you can proceed and then seek leave to file them for an appropriate purpose. After
your comtplaint has been filed, it must be reviewed by a federal judge to determine whether you can proceed,

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